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                EXHIBIT 56
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  From:          "Zimmerman, Chris" <CZimmerman@amerisourcebergen.com>
  Sent:          Mon, 7 Aug 2017 09:03:24-0400 (EDT)
  To:            "Ross, Paul" <PRoss@amerisourcebergen.com>
  Subject:       Emailing: BOD CS TPs 8.10.17 (8.6.17) Final
  Attachments:   BOD CS TPs 8.10.17 (8.6.17) Final.docx



  After more tweaks over the weekend.




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     ABC's Diversion Control Program

     Please let me provide you with a brief history of ABC's Diversion Control Program , especially in light of
     the current opioid epidemic facing the US and the implication from the media that Distributors are
     lacking controls.

     The Controlled Substance Act (CSA) , passed in 1970, is the statute establishing U.S. drug policy for
     the storage and distribution of controlled substances as stipulated in the Code of Federal Regulations
     and enforced by the Drug Enforcement Administration (DEA).

     Primarily:

        1) You must have a DEA Distributor Registration to distribute controlled substances;
        2) You can only distribute controlled substances to a DEA registered location ;
        3) You must have adequate controls in place to prevent diversion: cages vaults, alarms,
           background checks, etc.; and
        4) You must have a system to identify suspicious orders, and report those orders to DEA when
           discovered.
               These requirements have gone unchanged for the past 45+ years as the CS Distribution
               Industry operations and technology has changed by leaps and bounds.

     ABC and before the merger in 2001 , Amerisource & Bergen Brunswig, have always had programs in
     place to prevent diversion and report suspicious orders. In fact one of my first tasks when I started at
     Bergen 28 years ago, was to review and report suspicious orders to DEA.

     In 1997 - ABC (Bergen) voluntarily working with DEA Field Offices and Washington DC, revamped its
     Order monitoring program to account for the individual pharmacies purchasing levels by volume. Prior
     to 1997 all pharmacies were included in one peer group; so smaller pharmacies purchases were
     compared to the volume of large pharmacies. (When ABC was formed in 2001- ABC adopted the
     Bergen system)

     In 2007 -working with DEA as the result of the suspension of our Orlando DEA Registration for sales
     practices to Internet Pharmacies, ABC enhanced its program once again by: 1) creating a Diversion
     Control Group; 2) developing a comprehensive customer due diligence process; 3) Creating individual
     peer groups to adequately compare pharmacies purchases to like pharmacies; and 4) completely
     changed the order monitoring process to include holding and not shipping any order that exceeded
     that pharmacies' peer group threshold.

     ABC was the first company in the Industry to implement a SO Hold; which is now the standard in the
     Industry and a component for every distributor's SOM program. Prior to our implementation of the SO
     hold, suspicious orders were reported after they had been shipped. Q[ij§f§ ~ [g ~flipp§d ~t @igtJt. §9
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                                             § m§xt d~&.
     In 2014 -ABC voluntarily (without participation or input from DEA, as DEA had stopped communicating
     with Industry at this point) , enhanced its Program once again, focusing on data analytics of the order
     monitoring process to better identify outliers; established a formalized documentation process; and
     added specialized Personnel; which brings me to introducing David May ... Sharon & DEA Investigators




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